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PERSONAL INFORMATION      Doc
                     REDACTED   128-4   Filed 10/28/19 Entered 10/28/19 10:49:04   Desc Loan
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PERSONAL INFORMATION       Doc
                     REDACTED    128-4   Filed 10/28/19 Entered 10/28/19 10:49:04   Desc Loan
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Case 14-26046   Doc 128-4   Filed 10/28/19 Entered 10/28/19 10:49:04   Desc Loan
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Case 14-26046   Doc 128-4   Filed 10/28/19 Entered 10/28/19 10:49:04   Desc Loan
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